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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT NEW YORK

VAĒSO, INC.                                            )
                                                       )
                              Plaintiff,               )
                                                       )
              vs.                                      )   Cause No. 22-cv-01220 (PAE)
                                                       )
HIGH PEAK SOFTWARE, INC.                               )
                                                       )
                              Defendant/Third-Party    )
                              Plaintiff.               )
                                                       )
              vs.                                      )
                                                       )
IMPACTIVA S. de R. L.,                                 )
                                                       )
                              Third-Party Defendant.   )


NOTICE TO TAKE DEPOSITION OF DEFENDANT HIGH PEAK SOFTWARE, INC. BY :

                                           VINAY CHANDRA

TO:    High Peak Software, Inc.
       Peter F. Schoenthaler, P.C.
       3200 Windy Hill Road, SE
       Suite 1600 E
       Atlanta, Georgia 30339
       Tel: (404) 592-5397
       Fax: (855) 283-8983
       pfs@schoenthalerlaw.com

       PLEASE TAKE NOTICE THAT, pursuant to Fed. R. Civ. P. 30 et seq., on July 14, 2022

at 9:00AM EDT (or at such other time and date if agreement can be reached between counsel to the

parties), Plaintiff, Vaeso, Inc. (“Vaeso”) by and through the undersigned counsel, will take the

deposition upon oral examination of Defendant High Peak Software, Inc. (“HPS”) by VINAY

CHANDRA via electronic means, ie., Zoom, Teams, etc).
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         This deposition will be taken in accordance with the Federal Rules of Civil Procedure and for

all purposes authorized by law before an officer authorized to administer oaths. The deposition will

be recorded by stenographic means and may be videotaped.

         Pursuant to Fed. R. Civ. P. 30(b)(6), and by agreement between counsel, HPS shall produce

VINAY CHANDRA who consents to testify on behalf of HPS with respect to the matters set forth

in Exhibit 1, attached hereto. If VINAY CHANDRA does not have such knowledge, they are

required to acquire it through whatever reasonable investigation may be necessary.



Dated:          July 5, 2022
                Syosset, New York

                                               Yours, etc.,

                                               THE WEINSTEIN GROUP, P.C.
                                               s/Lloyd J. Weinstein
                                               (Rule §130-1.1a) (NYS Tech Law §304(2))
                                               6800 Jericho Turnpike, Suite 112W
                                               Syosset, New York 11791
                                               Telephone: 516-802-5330
                                               Facsimile: 516-802-5332
                                               ljw@theweinsteingroup.net
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                       EXHIBIT 1: Matters For Examination


1.       The facts and circumstances underlying Counterclaim Count I of Defendant’s

         Answer/Third-Party Complaint: Breach of Contract against Vaeso.

2.       The facts and circumstances underlying Counterclaim Count II of Defendant’s

         Answer/Third-Party Complaint: Quantum Meruit/Unjust Enrichment against

         Vaeso.

3.       The facts and circumstances underlying Counterclaim Count III of

         Defendant’s Answer/Third-Party Complaint: Breach of Contract against

         Impactiva S. de R.L. (“Impactiva”).

4.       The facts and circumstances underlying Counterclaim Count IV of

         Defendant’s Answer/Third-Party Complaint: Quantum Meruit/Unjust

         Enrichment against Impactiva.

5.       The facts and circumstances underlying Counterclaim Count V of Defendant’s

         Answer/Third-Party Complaint: Declaratory Judgment against Impactiva and

         Vaeso.

6.       The identity and location of all persons who have information relevant to the

         claims and defenses, counterclaims and/or third-party claims at issue in this

         action.

7.       The scope of HPS’ business and any parent, subsidiary, franchisee or agency

         under its control.

8.       The August 1, 2018 Master Services Agreement(“MSA”), which shall include

         communications between the parties prior to entering to the MSA.

9.       HPS’ performance under the MSA which shall include communications and

         complaints made by Vaeso to HPS.
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10.   The services provided and the deliverables to be provided to Vaeso.

11.   The services provided and the deliverables to be provided to Impactiva.

12.   The September 24, 2020 Amendment No 1 to Master Services Agreement

      (“Amendment”), including communications between the parties prior to

      entering into the Amendment.

13.   The assignment between Impactiva and Vaeso concerning the services,

      deliverables, or software provided by HPS under the MSA.

14.   HPS’ treatment of the assignment between Impactiva and Vaeso.

15.   Invoicing and billing practices of HPS, which shall include communications

      between the parties regarding the same.

16.   The agreement by HPS to deviate from the billing rates set forth in the MSA,

      including the terms of such agreement and communications between the

      parties regarding the same.

17.   The proposal that HPS be paid in warrants.

18.   Payments to HPS under the MSA or any subsequent agreement of the parties

      concerning HPS’s compensation, including communications between the

      parties regarding same.

19.   Credits issued by HPS pursuant to any agreement of the parties, including

      communications between the parties regarding same.

20.   Any complaints of delay, defects, errors, bugs or other problems with HPS’

      work product, including any communications between the parties regarding

      the same.

21.   The nature of the claim against Vaeso.

22.   The nature of the claim against Impactiva.
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23.   The factual basis underlying HPS’ allegation that the sum of $283,294 is due

      and owing as described in paragraph 14 of the Answer, including

      communications between the parties regarding same.

24.   The identity of the party who HPS alleges owes $283,294 and any

      communications in support thereof.

25.   The factual basis underlying HPS’ allegation that “the parties agreed that HPS

      would bill “at cost” with no markup in exchange for HPS receiving equity in

      Vaeso equivalent to the profits HPS forewent by billing at cost rather than at

      the Exhibit B rates (the “At-Cost Agreement”) as described in paragraph 14

      of the Answer, including communications between the parties regarding same.

26.   The factual basis underlying HPS’ allegation that “Impactiva ceased making

      payments to HPS” as described in paragraph 16 of the Answer, including

      communications between the parties regarding same.

27.   The factual basis underlying HPS’ allegation that “the Amendment did not

      confer upon Vaeso any rights to the Developed Property” as described in

      paragraph 18 of the Answer, including communications between the parties

      regarding same.

28.   The factual basis underlying HPS’ allegation that “the Amendment did not

      alter or eliminate any party’s obligation” as described in paragraph 19 of the

      Answer, including communications between the parties regarding same.

29.   The factual basis underlying HPS’ allegation that the sum of $1,842,879 is due

      and owing as described in paragraph 21 of the Answer, including

      communications between the parties regarding same.
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30.   The identity of the party who HPS alleges owes $1,842,879 and any

      communications in support thereof.

31.   The factual basis underlying HPS’ allegation that Vaeso expressed its intent to

      terminate the MSA as described in paragraph 22 of the Answer, including

      communications between the parties regarding same.

32.   The factual basis underlying HPS’ allegation that the sum of $2,126,173 is due

      and owing as described in paragraph 24 of the Answer, including

      communications between the parties regarding same.

33.   The factual basis underlying HPS’ allegation that HPS conferred a benefit

      upon Vaeso as described in paragraph 32 of the Answer, including

      communications between the parties regarding the same.

34.   The factual basis underlying HPS’ allegation that Vaeso has been unjustly

      enriched as described in paragraph 34 of the Answer, including

      communications between the parties regarding the same.

35.   The factual basis underlying HPS’ allegation that it expected to be

      compensated by Impactiva, as described in paragraph 44 of the Answer,

      including any communications between the parties regarding the same.

36.   Any efforts by HPS to mitigate any of its alleged damages and all

      communications between the parties regarding the same.

37.   The factual basis underlying any claim of denial of delay in HPS’s provision of

      the services, deliverables, and software under the MSA.

38.   The communications that were exchanged as a result of HPS’ delay in

      provision of services.
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39.   The communications that were exchanged as a result of HPS’ substandard

      provision of services.

40.   The critical path delays caused by HPS.

41.   The factual basis underlying any claim of HPS of ownership of the Vaeso

      software.

42.   The factual basis underlying any claim or conclusion reached as described in

      paragraph 55 of the Answer, including any communications between the

      parties regarding the same.

43.   The factual basis underlying any claim or conclusion reached as described in

      paragraph 56 of the Answer, including any communications between the

      parties regarding the same.

44.   The factual basis underlying any claim or conclusion reached as described in

      paragraph 57 of the Answer, including any communications between the

      parties regarding the same.

45.   The termination of any agreement between the parties, including

      communications between the parties regarding same.

46.   HPS’ history of litigation.

47.   The factual basis underlying Plaintiff’s allegation that HPS “would withdraw

      their workers,” as described in paragraph 29 of the Complaint, including

      communications between the parties regarding same.

48.   The factual basis underlying HPS’ denial that it withheld password information

      from Vaeso, freezing them from their own servers, including communications

      between the parties regarding same.

49.   The efforts by HPS to monetize Vaeso’s property.
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50.   The identity and location of any customers of HPS that are using, or have used,

      the same or similar services, deliverables, or software provided by HPS under

      the MSA, or any part thereof, including communications between HPS and

      such customers regarding the same.

51.   The existence and terms of any agreements to provide software or services

      based on any of the HPS services, deliverables, or software, to any non-party

      to this action.

52.   The type and amount of all damages sought by HPS in each counterclaim

      and/or third-party claim asserted in this action.

53.   The facts and circumstances underlying each element of damages being sought

      by HPS for each counterclaim and/or third-party claim asserted in this action.

54.   The method of calculating each element of damages being sought by HPS for

      each counterclaim and/or third-party claim asserted in this action.

55.   The facts and circumstances underlying any equitable, declaratory, or any other

      non-monetary relief being sought by HPS in this matter.
